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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
WACO DIVISON

LATINOS FOR TRUMP, BLACKS
FOR TRUMP, JOSHUA MACIAS,
M.S., B. G., J.B., d.J.,

Plaintiffs.

V. CIVIL ACTION NO. 6:21-CV-43
PETE SESSIONS, MITCH
McCONNELL, NANCY PELOSI,
MARK ZUCKERBERG, CHUCK
SCHUMER, ALEXANDRIA
OCASIO-CORTEZ, BRAD
RAFFENSPERGER, ALL
MEMBERS OF THE 11774 U.S.
CONGRESS, et al.,

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JURY TRIAL REQUESTED

Defendants.

DECLARATION OF J.J.

 

My name is J.J., 1am competent to make this Declaration as follows: “I declare
and verify under penalty of perjury that I am a resident of the state of Alabama and

that I voted in the 2020 election for the U.S. House of Representatives and the U.S.

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Senate in the state of Alabama.”

J.J.

Signed: January 20, 2021
